I am in full agreement with the majority on all aspects of this case except in regard to the rulings on evidence.
On cross-examination, the defendant asked the arresting officer the following question: "Officer, would you in your opinion say that the rate of speed that Miss Molinar was operating this automobile on the night in question, taking into consideration the weather, the use of the highway at the time, traffic conditions, was unreasonable?" To this question, the prosecutor objected without stating the grounds of his objection. The court then sustained the objection. The defendant stated the ground on which she claimed that the officer's opinion was admissible.Casalo v. Claro, 147 Conn. 625, 629; Practice Book § 155. The question for consideration is whether the court erred in refusing to allow the opinion of a police officer as to whether the defendant was operating her car at an unreasonable speed. The defendant contends that the police officer was qualified as an expert, and the trial court found that the police officer was qualified as an expert as to speed. The witness, Officer McGuiness, had been a member of the Stamford police department for ten and one-half years, during nine and one-half years of which time he was assigned to radio patrol duty. He had made other arrests in Connecticut for speeding. He had testified as to the weather conditions, traffic, posted speed limits and the condition of the road in *Page 167 
question and that he had clocked the defendant for a distance of one and three-fourths mile, noting her speed at sixty to sixty-five miles per hour. This testimony was based on the personal observation of the witness during the course of his pursuit of the defendant.
Even if we were to consider the officer as a non-expert witness, he could testify as to reasonableness of speed under all the conditions, provided his opinion was founded on his own personal observation and not on the testimony of others, nor on any hypothetical statement of facts. Stephanofsky v.Hill, 136 Conn. 379, 382. In Connecticut, nonexpert witnesses, using the test in the Stephanofsky case, have testified to the sufficiency of a dam; Porter v.Pequonnoc Mfg. Co., 17 Conn. 249, 257; whether a bridge was dangerous; Ryan v. Bristol, 63 Conn. 26,37; and whether a sidewalk was in a safe condition for travel. Campbell v. New Haven, 78 Conn. 394,395. In Dean v. Sharon, 72 Conn. 667, 674, an expert witness was allowed to testify as to whether a highway was reasonably safe. Certainly Officer McGuiness could testify as to reasonableness of the accused's speed in view of his opportunity to observe and his own experience. Failure to admit such testimony was in error.
The gist of the crime of speeding in violation of § 14-219 is unreasonableness, in view of the width, traffic and use of the highway, the intersection of streets and the weather conditions, and Officer McGuiness' testimony could have assisted the jury in ultimately determining this question. As stated in 7 Wigmore, Evidence (2d Ed.) §§ 1921, 1923, the fact that an opinion touches the very issue before the jury is of no consequence. "[T]he only true criterion is: on this subject can a jury from thisperson receive appreciable help? In other words, the test is a relative one, depending upon the particular *Page 168 
subject and the particular witness with reference to that subject, and is not fixed or limited to any class of persons acting professionally." Id. § 1923, p. 21. The jury are free to accept or reject such an opinion, for they are the final arbiters of the guilt or innocence of the accused. They should have had the benefit of Officer McGuiness' opinion. Failure to admit the evidence was detrimental and prejudicial to the accused's case because the opinion elicited could have helped and assisted the jury in their deliberations and because it went to the heart of the matter of the crime of speeding.
For the foregoing reasons, I feel that there is error and that the judgment ought to be set aside and a new trial ordered.